      Case 2:18-cv-00028 Document 8 Filed in TXSD on 03/01/18 Page 1 of 6



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

RONNIE W. WATKINS AND                           §
TERESA H. WATKINS,                              §
                                                §
       PLAINTIFFS,                              §
                                                § CIVIL ACTION NO: 2:18-CV-00028
V.                                              §
                                                §
UNION PACIFIC                                   §
RAILROAD COMPANY,                               §
                                                §
       DEFENDANTS.                              §

            PLAINTIFFS’ RESPONSE TO DEFENDANT'S MOTION TO DISMISS
            UNDER RULE 12(B)(6) AND MOTION FOR SUMMARY JUDGMENT

       Plaintiffs Ronnie W. Watkins and Teresa H. Watkins (the “Watkins” or “Plaintiffs”) file

this response to Defendant’s Motion to Dismiss under Rule 12(b)(6) (the “Motion”) and ask that

the Court grant the Plaintiffs summary judgment on its declaratory judgment action.

I.     Summary

       1.      Plaintiffs first filed suit in Live Oak County against Defendant Union Pacific

Railroad Company (“Defendant”) for declaratory judgment to obtain an easement by necessity.

Plaintiffs’ property was bisected by Union Pacific’s railroad right-of-way (the “Right of Way”).

       2.      Defendant filed a Notice of Removal (Dkt. No. 1) and the case has now been

transferred to this court. Defendant then filed a Motion to Dismiss under Rule 12(b)(6)

(“Defendant’s Motion”, Dkt. No. 2) on February 2, 2018.

       3.      The Court should not only deny Union Pacific’s Motion, but it should grant

summary judgment in favor of the Watkins. The facts are simple and undisputed - Plaintiffs do

not have roadway access to a public road for a portion of their land, and they are entitled to a

declaratory judgment that provides them an easement by necessity as a matter of law.
          Case 2:18-cv-00028 Document 8 Filed in TXSD on 03/01/18 Page 2 of 6



II.         Union Pacific's Motion should be denied.

            4.    The Court is well aware of the standard of review for a Motion to Dismiss under

Fed. R. Civ. P. 12(b)(6). "To survive a Rule 12(b)(6) motion to dismiss," a "Complaint need only

include 'a short and plain statement of the claim showing that the pleader is entitled to relief'."

Pension Advisory Group, Ltd. v. Country Life Ins. Co., 771 F. Supp. 2d 680, 700 (S.D. Tex.

2011), quoting Fed. R. Civ. P. 8(a)(2). "[D]etailed factual allegations' are not required." Id.

            5.    In this case, the Watkins have pleaded sufficient facts to show that they are

entitled to move forward on their suit for declaratory judgment against Union Pacific.

            6.    Union Pacific correctly identifies the elements for an easement by necessity in its

motion. (1) unity of ownership of the alleged dominant and servient estates prior to severance;

(2) the claimed access is a necessity and not a mere convenience; and (3) the necessity existed at

the time the two estates were severed.” Hamrick v. Ward, 446 S.W.3d 377, 382 (Tex. 2014).

            7.    Plaintiffs’ Original Petition provided sufficient facts to support an easement by

necessity. They explained in their Original Petition that they own 650 acres of land in Live Oak

County, Texas (the “Property”). Pls.’ Orig. Pet. at ¶ 7. They also pleaded that Property has been

bisected by Union Pacific’s Right of Way. Id. at ¶ 8. Plaintiffs then pleaded, because they had no

obligation to elaborate further, that the Property is landlocked. Those pleadings sufficiently state

a cause of action for easement by necessity, but in an abundance of caution Plaintiffs have now

timely filed Plaintiffs’ First Amended Complaint within twenty-one (21) days of Defendant’s

Motion.

            8.    The Plaintiffs have pleaded sufficient facts to survive Union Pacific’s unfounded

Motion, and the Motion should be denied.




                                                   2
106559459\V-3
          Case 2:18-cv-00028 Document 8 Filed in TXSD on 03/01/18 Page 3 of 6



III.        Plaintiffs are entitled to summary judgment on their motion for declaratory
            judgment.

            9.    The Court should not only deny Union Pacific’s Motion, but it should grant

summary judgment in Plaintiffs’ favor.

            A.    Summary Judgment standard

            10.   As this Court has explained, “[s]ummary judgment is appropriate where the

movant shows there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Hernandez v. Dignity Mem'l Network, Inc., 2:13-CV-355, 2014

WL 5428663, at *2 (S.D. Tex. Oct. 24, 2014) (quoting Fed. R. Civ. P. 56). “A dispute of a

material fact is genuine if the evidence is such that a reasonable jury could return a verdict in

favor of the nonmoving party.” Id. In this case, there is no genuine issue of material fact and

Plaintiffs are entitled to summary judgment.

            B.    Factual Background

            11.   The following facts are all supported by the verification of Ronnie W. Watkins

(the “Watkins Declaration”) attached as Exhibit 1 hereto, and incorporated by reference.

            12.   The Watkins' property is described as follows:

                  576.828 acres of land, which is comprised of a portion of the John
                  McGloin Survey, Abstract No. 27, and a portion of the John
                  Hefferman Survey, Abstract No. 11, Live Oak County, Texas,
                  approximately 6 miles north of the town of Three Rivers, Live Oak
                  County, Texas.

            13.   Of this 576.828 acres of land, approximately 475 acres (the “Back Half”) is west

of Union Pacific’s railroad right-of-way (the “Right of Way”), and approximately 100 acres is

east of the Right of Way with frontage on I-37 (the “Front Half”).

            14.   The Watkins bought an additional 73 acres of land in September 2007, making the

“Front Half” approximately 178 acres in total.


                                                  3
106559459\V-3
          Case 2:18-cv-00028 Document 8 Filed in TXSD on 03/01/18 Page 4 of 6



            15.   The Front Half, Right of Way, and Back Half were once a united piece of

property owned by one person, Sam Nave. Ex. 1, Watkins Decl. at ¶ 5. The Property was severed

by the Right of Way in 1912. Id. at ¶ 6. The Back Half has no access to public roads. Id. at ¶ 7.

Thus, all three elements for an easement by necessity exist in this case.

            C.    The Watkins' property is entitled to an easement by necessity.

            16.   In this case, all three elements are also easily met as a matter of law.

                  1.     There was unity of ownership before the severance.

            17.   The two tracts were previously owned by Sam Nave. To establish unity of

ownership the claimant must prove prior to severance, the claimant's grantor owned the

dominant and servient estate as a unit or single tract. See, Mitchell v. Castellaw, 246 S.W.2d 163,

167 (1952).

            18.   In this case, there is unity of ownership, as the entire tract of land was owned by

Sam Neve up to 1924 and was previously bisected by the Right of Way to Union Pacific. See,

Deeds attached as Exhibits 3 and 4 from the real property records of Live Oak County. The

Court can take judicial notice of these records.

                  2.     The easement is necessary, and not just sought for convenience.

            19.   Again, as explained above, there is no access to a public roadway by the Back

Half of the Property. The easement by necessity requested by the Watkins is one of strict

necessity, rather than a mere inconvenience. The Watkins have been unable to sell their Property

without the easement by necessity as alleged in Cause No. 16-0065-CV-C, Ronnie Wade Watkins

and Teresa H. Watkins v. Live Oak Title Company and Fidelity National Title Insurance

Company, (Successor to Lawyers’ Title Corporation), filed by the Watkins in the District Court

of Live Oak County, Texas (the “Original Action”), and attached as Exhibit 2 to this motion. The

Watkins specifically allege in the Original Action with respect to the Property that “perhaps 80%

                                                    4
106559459\V-3
          Case 2:18-cv-00028 Document 8 Filed in TXSD on 03/01/18 Page 5 of 6



had no access appurtenant to such land.” Union Pacific has refused to grant access to users or

purchasers of the Property from the Back Half across the Right of Way to the Front Half and, as

a result, the Back Half remains inaccessible to public roadways.

                  3.     The necessity existed at the time the two estates were severed.

            20.   This need for access to the public roadways has existed from the time Union

Pacific first bisected the Property. This need did not emerge later in time - it has been a problem

from the moment Union Pacific's railroad divided the land. See, Ex. 2, the Original Action. All of

the claims in the Original Action are confirmed by the Watkins Declaration. Ex. 1. This evidence

and the attached deeds (Exhibits 3 and 4) support summary judgment for the Plaintiffs for an

easement by necessity.

IV.         Conclusion

            21.   This is not a difficult case. Union Pacific cut off the Plaintiffs’ access to the

public roadways, barring ingress and egress from the Back Half of Plaintiffs’ Property.

Plaintiffs’ situation is precisely why the State of Texas provides for easements by necessity.

            22.   For the foregoing reasons, Plaintiffs Ronnie and Teresa Watkins respectfully

request that the Court deny Union Pacific’s Motion and grant Plaintiffs’ motion for summary

judgment. Plaintiffs pray the Court will enter an order that entitles them to an easement by

necessity. Plaintiffs also request all such other relief to which it may find themselves justly

entitled.




                                                  5
106559459\V-3
          Case 2:18-cv-00028 Document 8 Filed in TXSD on 03/01/18 Page 6 of 6



                                                    Respectfully submitted,

                                                    DENTONS US LLP

                                                    By: /s/ Glenn A. Ballard, Jr.
                                                     Glenn A. Ballard, Jr.
                                                     Federal Bar No.: 825
                                                     State Bar No.: 01650200
                                                     Mukul S. Kelkar
                                                     Federal Bar No.: 1503770
                                                     State Bar No.: 24063682
                                                     glenn.ballard@dentons.com
                                                     mukul.kelkar@dentons.com

                                                    1221 McKinney Street, Suite 1900
                                                    Houston, Texas 77010-2006
                                                    Telephone: (713) 658-4600
                                                    Facsimile: (713) 739-0834
                                                    Attorneys for Ronnie W. Watkins and
                                                    Teresa H. Watkins


                                     Certificate of Service

       I certify that a true and correct copy of the foregoing motion was served on all parties of
record via the Court’s ECF system on March 1, 2018.

                                                     /s/ Mukul S. Kelkar
                                                    Mukul S. Kelkar

Via ECF

Baker Wotring LLP
David George (dgeorge@bakerwotring.com)
700 JP Morgan Chase Tower
600 Travis Street
Houston, Texas 77002

and

Cline Williams Wright Johnson & Oldfather, LLP
Austin L. McKillip (amckillip@clinewilliams.com)
Jordan R. Hasan (jhasan@clinewilliams.com)
233 South 13th Street
1900 US Bank Building
Lincoln, Nebraska 68508


                                                6
106559459\V-3
